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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                     )
                                               )
                Plaintiff,                     )
         v.                                    )      Cause No. 1:98-cr-0121-SEB-TAB-8
                                               )
 DEBRA ROBINSON,                               )
                                               )
                Defendant.                     )


              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         This matter is before the Court for a hearing on the Petition for Summons or Warrant for

 Offender Under Supervision filed on June 3, 2010. The Magistrate Judge submits proposed

 Findings of Facts and Recommendations for disposition under Title 18 U.S.C. §§ 3401(I) and

 3583(e).

         On June 18, 2010, Magistrate Judge Kennard P. Foster conducted the following

 procedures in accordance with Rule 32.1(b)(2), Fed. R. Crim. P. and Title 18 U.S.C. § 3583:

         1.     Robinson was advised of the nature of the violations alleged against her and

 acknowledged receipt of the notice of said allegations.

         2.     A copy of the Petition for Warrant or Summons for Offender Under Supervision

 was provided to Robinson and her counsel, who informed the Court that they had read and

 understood the violations listed in the Petition and waived further reading thereof.

         3.     Robinson was advised of her right to a preliminary hearing and its purpose in

 regard to the alleged specified violations of his supervised release contained in the pending

 Petition.

         4.     Robinson was advised she would have a right to question witnesses against her at
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 the preliminary hearing unless the Court, for good cause shown, found that justice did not

 require the appearance of a witness or witnesses.

        5.      Robinson was advised she had the opportunity to appear at the preliminary

 hearing and present evidence on his own behalf.

        6.      Robinson was advised that if the preliminary hearing resulted in a finding of

 probable cause that Robinson had violated an alleged condition or conditions of his supervised

 release as set forth in the Petition, she would be held for a revocation hearing before the

 undersigned Magistrate Judge.

        7.      Robinson executed a written waiver of the preliminary hearing, which was

 accepted by the Court.

        8.      Robinson stipulated that she committed Violations 2 and 3 as set forth in the

 Petition for Warrant or Summons for an Offender Under Supervision as follows:

        Violation Number                               Nature of Noncompliance

                2                      “The defendant shall not frequent places where
                                       controlled substances are illegally sold, used, distributed,
                                       or administered.”

                                       On May 28, 2010, officers found marijuana inside the
                                       offender [Robinson]’s residence and found photos on her
                                       camera of her son’s birthday party in which the defendant
                                       was present. On her camera, a photo was found of the
                                       defendant’s half-brother, Donnie Smith, posing with her
                                       son with what appears to be a large bag of marijuana. The
                                       offender admitted the party occurred at her mother’s house
                                       in February 2010.

                3                      “The defendant shall not associate with any persons
                                       engaged in criminal activity and shall not associate with
                                       any person convicted of a felony, unless granted
                                       permission to do so by the probation officer.”


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                                       On April 23, 2010, U.S. Probation encountered the
                                       offender at her residence with Antoine Lamont Skinner, a
                                       convicted felon who was recently released from state
                                       prison. Mr. Skinner has been convicted in Madison County
                                       of the following offenses: Dealing in Cocaine; Pointing a
                                       Firearm; Possession of Marijuana; Resisting Law
                                       Enforcement and Residential Entry. He is currently on
                                       probation in Madison County for Dealing in Cocaine.

                                       On May 28, 2010, U.S. Probations Officers conducted a
                                       search of the offender’s residence and encountered the
                                       offender at her residence with Donnie Smith, the offender’s
                                       half-brother. A further investigation determined he was a
                                       convicted felon who was released from prison on
                                       December 12, 2009, and is currently on probation in
                                       Madison County for Armed Robbery. Mr. Smith has been
                                       convicted in Madison County of the following felony
                                       offenses: Armed Robbery; Theft; Criminal Confinement;
                                       Intimidation; and Possession of Marijuana.

                                       During the search of the offender’s residence, this officer
                                       found letters to the defendant from 2009 and 2010 from
                                       Lester Wright, an inmate currently in the Indiana
                                       Department of Corrections. This officer also found Mr.
                                       Wright’s wallet and identification documents in the
                                       offender’s bedroom. Mr. Wright was sentenced in
                                       Madison County on June 9, 2009, to 20 years in prison for
                                       five counts of Dealing in Cocaine. The offender admitted
                                       to this officer they were dating prior to his arrest in
                                       September 2008 and referred to him as a “boyfriend.”

                                       The defendant did not have permission from the probation
                                       officer to associate with any of the aforementioned felons.

        9.      The Court placed Robinson under oath and directly inquired of Robinson whether

 she admitted the violation of the specifications of her supervised release set forth above.

 Robinson stated that she admitted the above violations as set forth.

        10.     The government moved to dismiss Violations 4 and 5 as set forth in the Petition

 for Warrant or Summons for an Offender Under Supervision, and this motion was granted.


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         11.     Robinson denied Violation 1 as set forth in the Petition for Warrant or Summons

 for an Offender Under Supervision as follows:

         Violation Number                              Nature of Noncompliance

                 1                     “The defendant shall not commit another federal, state or
                                       local crime.”

                                       On May 28, 2010, a search of the offender’s residence was
                                       conducted by U.S. Probation Officers with the assistance of
                                       the Anderson, IN, Police and Madison County Drug Task
                                       Force. Inside the offender’s residence, officers discovered
                                       plant-like material in two locations that field tested positive
                                       for the presence of marijuana. This officer also discovered
                                       a Davis Industries .380 semi-automatic handgun, serial
                                       number AP22913, under the mattress in the offender’s
                                       second bedroom. The weapon was loaded with five rounds
                                       in the magazine. Upon entry, the defendant’s half-brother,
                                       Donnie Smith, was sleeping on the mattress and denied
                                       ownership of the firearm. Mr. Smith was taken into
                                       custody by the Anderson Police Department and charged
                                       with being a Felon in Possession of a Firearm based on his
                                       prior convictions. The offender was also taken into
                                       custody by Anderson Police Department and charged with
                                       Possession of Marijuana (misdemeanor) and Maintaining a
                                       Common Nuisance (felony). Charges are pending in
                                       Madison County 12. The Court heard testimony from the
                                       assigned U.S. Probation Officer, Troy Adamson, and
                                       argument from counsel for the government and for
                                       Robinson.

         12.     The Court heard testimony from the assigned U.S. Probation Officer, Troy

 Adamson, and argument from counsel for the government and for Robinson.

         13.     The Court found Robinson in violation of the terms of her conditions of release as

 charged in Violation 1, as set forth above, as well as Violations 2 and 3 per her admissions and

 stipulations of the parties.

         14.     The Court and counsel for the parties further stipulated to the following:


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                a.      The most serious grade of violation is Grade B, pursuant to U.S.S.G.

                        § 7B1.1(a)(2).

                b.      Robinson has suffered criminal convictions that yield a criminal history

                        category of III.

                c.      The term of imprisonment applicable upon revocation of Robinson’s

                        supervised release, therefore, is 8-14 months imprisonment. See, U.S.S.G.

                        § 7B1.4(a).

        15.     The Court ordered that disposition of the matter would be held in abeyance until

 the U.S. Probation Office notified the Court of a need for further hearing. Robinson was

 released on her own recognizance pending further proceedings before the Court.

        16.     On April 21, 2011, Robinson appeared in person and by counsel, and the Court

 ordered that disposition of Robinson’s violation of release would be held in abeyance until

 February 2013.

        17.     On February 6, 2013, Robinson appeared with appointed counsel for a hearing on

 this matter.

        18.     U.S. Parole and Probation Officer Troy Adamson reported at this hearing that

 Robinson had been in substantial compliance with the terms of her release since the time of the

 initial hearing on June 18, 2010, and that she had approximately two months left of state

 probation relating to the state charges that were the substance of Violation 1.

        19.     The parties, joined by U.S. Parole and Probation, recommended that the matter be

 closed with no additional sanctions, and the Court adopted this recommendation.

        Robinson’s supervised release is therefore maintained on current conditions, with no


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 additional sanctions or extension of the term. Robinson remains released pending approval of

 this Report and Recommendation.

        The parties were advised that the District Judge may reconsider any matter assigned to a

 Magistrate Judge pursuant to Title 28, U.S.C. § 636(b)(1)(B) and (C), and Rule 72(b) of the

 Federal Rules of Civil Procedure, and that any party desiring said review shall have 14 days to

 file written objections. The parties waived their right to file any objections.

        WHEREFORE, the U. S. Magistrate Judge RECOMMENDS the Court adopt the

 above report and recommendation continuing Robinson’s supervised release with no additional

 sanction.

        Dated: 2/13/2013



                                              _______________________________
                                               Tim A. Baker
                                               United States Magistrate Judge
                                               Southern District of Indiana




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